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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

                     – against –
                                                                     ORDER
KARL SEBASTIAN GREENWOOD,                                         17-cr-630 (ER)

                            Defendant.



RAMOS, D.J.:
         On August 29, 2023, Defendant submitted his sentencing submission, which

included portions that were redacted and under seal. Doc. 566. �e next day, Matthew

Russell Lee of the Inner City Press moved to unseal the sentencing submission. Doc.

567. Defendant opposes unsealing (Doc. 571), and the Government takes no position

(Doc. 573).

         �e Court ﬁnds that unsealing is not warranted in that the redactions in

Defendant’s sentencing submission are appropriately limited to Defendant and his

family’s medical information, his family’s identities and personal information, and other

similarly protected information. Accordingly, the motion to unseal Defendant’s

sentencing submission, Doc. 567, is DENIED.

         It is SO ORDERED.
Dated:    September 7, 2023
          New York, New York

                                                         EDGARDO RAMOS, U.S.D.J.
